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                            3:22-cv-1019-KAD


                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT



                  IN RE: HO WAN KWOK, ET AL., DEBTORS


                       HO WAN KWOK, APPELLANT,

                                    v.

             LUC A. DESPINS, CHAPTER 11 TRUSTEE, APPELLEE.


ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
                            CONNECTICUT

                   Bankruptcy Case No. 22-50073-JAM


                          BRIEF FOR APPELLEE
                  LUC A. DESPINS, CHAPTER 11 TRUSTEE



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      Appellee Luc A. Despins, in his capacity as the chapter 11 trustee (the

“Trustee”) appointed in the chapter 11 case (the “Chapter 11 Case”) of Ho Wan

Kwok (the “Debtor”) respectfully submits this brief in response to the opening

brief submitted by the Debtor [ECF No. 18] (the “Opening Brief”), seeking

reversal of the order of the United States Bankruptcy Court, District of Connecticut

(Manning, J.) (the “Bankruptcy Court”) denying the Debtor’s Motion for Relief

from Order Appointing Luc A. Despins as Chapter 11 Trustee (the “Motion to

Vacate”) on the basis that the Debtor failed to present grounds to remove the

Trustee under section 324 of title 11 of the United States Code (the “Bankruptcy

Code”).

                       JURISDICTIONAL STATEMENT

      The sole issue on this appeal is whether the Bankruptcy Court properly

reached the question of whether to deny the Motion to Vacate because the Debtor

had failed to present grounds to remove the Trustee under section 324 of the

Bankruptcy Code. The Debtor is not otherwise challenging the denial of the

Motion to Vacate, including on the grounds that the Debtor failed to satisfy the

standards under Rule 60(b) of the Federal Rules of Civil Procedure.

      The Debtor asserts that this Court has jurisdiction over this appeal pursuant

to 28 U.S.C. § 158(a)(1), which provides that “[t]he district courts of the United

States shall have jurisdiction to hear appeals from (1) final judgments, orders,


                                          1
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decrees … of bankruptcy judges.” However, an appeal of an order denying the

removal of a trustee under section 324 of the Bankruptcy Code is not a final,

appealable order. As the Ninth Circuit explained:

             The bankruptcy court’s order denying removal of the trustee
             is not final: It neither resolves no seriously affects
             substantive rights, nor finally determines the discrete issue
             to which it is addressed, since the trustee could be removed
             at a later time. Moreover, if a party could file an
             interlocutory appeal every time he tried unsuccessfully to
             remove a trustee, he could bring the litigation to a never-
             ending standstill.
SS Farms, LLC v. Sharp (In re SK Foods, L.P.), 676 F.3d 798, 802 (9th Cir. 2012)

(order denying motion to remove trustee is not final order) (emphasis added). The

foregoing conclusion is not affected by the fact that an order granting removal of a

trustee is a final order. In particular, as the Ninth Circuit explained,

             the two situations—removal and denial of removal—are not
             symmetrical. So long as a trustee remains in office, the
             status quo ante continues and his actions may be reviewed
             throughout the bankruptcy proceedings. However, when a
             trustee is removed for cause, such an order alters the status
             quo ante because the trustee can no longer act in the
             continued bankruptcy proceedings. Therefore, since an
             order denying removal of the trustee preserves the status quo
             ante and may be later revisited, such an order is not an
             appealable final order.

In re SK Foods, L.P., 676 F.3d at 802. See also Thomas v. Grisby, 556 B.R. 714,

719 (D. Md. 2016) (denying removal of the Trustee “does not conclusively

foreclose [the Debtor] from challenging the Trustee’s actions going forward”).


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      The overwhelming weight of authority agrees with the Ninth Circuit’s

analysis. See, e.g., In re Regan, No. 3:21-cv-1231 (BKS), 2022 WL 16744175, at

*5 (N.D.N.Y. Nov. 7, 2022) (because order denying removal of trustee “does not

terminate the proceeding from which the order arises [i.e., administration of the

estate by the appointed trustee], such an order is not final and immediately

appealable”); France v. U.S. Trustee, No. 2:20-cv-04199-BHH-MHC, 2022 WL

494118, at *2 (D.S.C. Jan. 27, 2022) (order denying request to remove trustee was

not a final appealable order because it does not “definitively dispose of discrete

disputes within the overarching bankruptcy case”) (quoting Ritzen Grp. Inc. v.

Jackson Masonry, LLC, 140 S. Ct. 582, 586 (2020)); Smith-Scott v. Liebmann,

RDB-15-3637, 2016 WL 1084127, at *2 (D. Md. Mar. 18, 2016) (order denying

removal of trustee because “it neither resolves nor seriously affects substantive

rights, nor finally determines the discrete issue to which it is addressed, since the

trustee could be removed at a later time”); Thomas v. Grisby, 556 B.R. at 719

(“order denying removal [of the trustee] is properly construed as non-final because

the denial preserves the status quo rather than upsets it”); Gonzalez v. Miranda (In

re Gonzalez), 507 B.R. 775, 777 (D.P.R. 2014) (order denying removal of trustee

“is not a final and appealable order, as it does not resolve and seriously affect

substantive rights, and it does not determien the ‘discrete’ issue to which it is

addressed”); Eastern Livestock Co., LLC v. Knauer (In re Eastern Livestock Co.,


                                           3
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LLC), No. 4:12-cv-00126-TWP-WGH, 2013 WL 4479080, at *4 (S.D. Ind. Aug.

20, 2013) (“order [denying removal of the trustee] is not a final order subject to 28

U.S.C. § 158(a)(1).”); see also 3 Collier on Bankruptcy ¶ 324.03 (16th Ed. 2019)

(“The decision to remove a trustee is a final appealable order. An order denying

removal of a trustee, however, is not a final order, and cannot be immediately

appealed except with leave of the court.”).

       The cases cited by the Debtor for the contrary proposition are not only in the

minority, but they are not persuasive, and, in any event, not controlling authority.

For example, the Seventh Circuit in In re Schultz Mfg. Fabricating Co., 956 F.2d

686 (7th Cir. 1992), simply assumed, without any analysis of finality, that an order

denying the trustee’s appointment was a final order.1 Further, the Second Circuit

decision in Maiman v. Spizz (In re Ampal-American Isr. Corp.), 691 F. App’x 12,

16 (2d Cir. 2017), is not only an unpublished decision that has no precedential

effect, but this decision also assumed, without analysis, that an order denying a

request to remove a trustee is a final order. And the bankruptcy appellate panel in

Granderson v. Carpenter (In re Granderson), 252 B.R. 1, 4 (B.A.P. 1st Cir. 2000),

relied on cases involving orders appointing a trustee or orders vacating the


1
    See also Miller v. Miller (In re Miller), 302 B.R. 705, 708 (10th Cir. BAP 2003) (relying on
    Schultz without any further analysis); In re Wring, No. 14-8049, 2015 Bankr. LEXIS 2032, at
    *3 (B.A.P. 6th Cir. June 22, 2015) (relying on Schulz, Miller, and other decisions, all of
    which assumed, without any analysis, that an order denying a motion to remove trustee is a
    final order).

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appointment of a trustee, both of which situations are clearly distinguishable from

an appeal of an order denying a request to remove the trustee.

      Because the Bankruptcy Court’s order denying relief under section 324 of

the Bankruptcy Code is not a final, appealable order, the Debtor cannot appeal

such order as a matter of right, but instead must seek leave of this Court prior to

filing his appeal. See 28 U.S.C. § 158(a)(3). The Debtor did not file such a motion

for leave to appeal with either his Notice of Appeal, as required by Rule

8004(a)(2), (b) of the Federal Rules of Bankruptcy Procedure, but he did make a

request for interlocutory appeal in his opening brief.

      The Trustee submits that the Debtor’s request should be denied because he

has not met the three-part test for determining whether an interlocutory appeal of

an order should be granted, namely that “such order involves a controlling question

of law as to which there is substantial ground for difference of opinion and that an

immediate appeal from the order may materially advance the ultimate termination

of the litigation.” See 28 U.S.C. § 1292(b). Moreover, in the Second Circuit,

granting such an appeal is disfavored and is a “rare exception to the final judgment

rule.” Concrete Capital, LLC v. Olympic Property Partners, LLC (In re Olympic

Property Partners, LLC), 566 B.R. 334, 339 (S.D.N.Y. 2017) (quoting Koehler v.

Bank of Bermuda Ltd., 101 F.3d 863, 865 (2d Cir. 1996)).




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      Here, the Bankruptcy Court’s order denying removal of the Trustee involves

no controlling question of law as to which there is a substantial ground for a

difference of opinion. While the Debtor frames this appeal as a challenge to the

Bankruptcy Court’s subject matter jurisdiction, he cannot escape the fact that he is

appealing an order finding that he failed to establish grounds to remove the

Trustee. There is no legal support (and the Debtor cites to none) that such a ruling

involves a controlling question of law as to which there is a substantial ground for

a difference of opinion. Nor would an immediate appeal advance the termination

of the Debtor’s Chapter 11 Case. To the contrary, even if the Bankruptcy Court’s

decision as to section 324 were reversed on appeal, the Debtor’s motion to vacate

would still be denied (because, again, the Debtor is not challenging the Bankruptcy

Court’s denial of the motion on other bases).

      In the event the Court concludes that the Bankruptcy Court’s order denying

the motion to vacate under section 324 of the Bankruptcy Code of the Bankruptcy

was a final order or, alternatively, the Court grants the Debtor’s request for

interlocutory appeal, this brief sets forth below the Trustee’s grounds to deny the

appeal on the merits.

             COUNTERSTATEMENT OF ISSUES PRESENTED
      Whether the Bankruptcy Court properly reached the question of whether the

Debtor failed to established grounds to terminate the appointment of the Trustee or


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remove the Trustee under section 324 of the Bankruptcy Code where (a) the

Debtor filed a motion to vacate the appointment of Trustee under Rule 60(b) of the

Federal Rules of Civil Procedure, (b) such motion set forth the Debtor’s arguments

as to why the Trustee’s appointment should be vacated, and (c) the Bankruptcy

Court held that such motion should have been brought, but was not brought,

pursuant to section 324.

                             STATEMENT OF THE CASE

I.      Case Background
        Prior to the filing of the Chapter 11 Case, the Debtor was embroiled in years

of civil litigation commenced by Pacific Alliance Asia Opportunity Fund L.P.

(“PAX”) in the New York Supreme Court (the “State Court”), which litigation

resulted in (a) a judgment against the Debtor in excess of $116 million on February

3, 20212 and (b) the State Court issuing an order dated February 8, 2022 (the

“Contempt Decision”) holding the Debtor in contempt for violating court orders

and imposing a fine in the amount of $134 million.3 As the presiding State Court

judge, Justice Ostrager, explained in the Contempt Decision, the Debtor “is a self-

declared multi-billionaire” who “secreted his assets in a maze of corporate entities



2
     The Debtor has appealed that judgment.
3
     Decision & Order on Motion, at 1 and 10, Pacific Alliance Asia Opportunity Fund L.P. v. Ho
     Wan Kwok, Index No. 652077/2017 (N.Y. Sup. Feb. 9, 2022), Trustee’s Appendix (“Trus-
     tee’s App.”) at A-0226, A-0235.

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and with family members” attempting to “avoid and deceive his creditors” in a

scheme that “has enabled [the Debtor] to assert that he has no assets despite his

lavish lifestyle.”4 This is evidenced by, among other things, (i) the Debtor’s

“dominion and control”5 over a 150-foot yacht, the Lady May, that he claims is

owned by a company owned by his daughter, (ii) Debtor’s multi-million dollar

residence in Greenwich, Connecticut, which residence Debtor alleges is owned by

a company owned by his wife, and (iii) a penthouse apartment at the Sherry-

Netherland Hotel on Fifth Avenue in Manhattan, New York, to which Debtor has

access, but which he claims is held in trust for the benefit of a company owned by

his son. There are several other assets connected to the Debtor that are the subject

of the Trustee’s ongoing investigation.

       Shortly after the issuance of the Contempt Decision, on February 15, 2022,

the Debtor filed a voluntary petition under chapter 11 of the Bankruptcy Code.

       On March 19, 2022, the United States Trustee moved for an order directing

the appointment of an examiner or, in the alternative, a chapter 11 trustee (the

“Chapter 11 Trustee Appointment Motion”). (Bankr. Dkt. No. 102, Trustee’s App.

at A-0001.) On April 6, 2022, PAX filed a motion to dismiss the chapter 11 case

or, in the alternative, a partial joinder to the Chapter 11 Trustee Appointment


4
    Id. at A-0226.
5
    Id. at A-0227.

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Motion with respect to the relief of the appointment of a chapter 11 trustee.

(Bankr. Dkt. No. 183, Trustee’s App. at A-0166.)

         On June 15, 2022, the Bankruptcy Court entered an order directing the

United States Trustee to appoint a trustee in the Chapter 11 Case (the “Trustee

Order”). (Bankr. Dkt. No. 465, Trustee’s App. at A-0990.) On July 7, 2022, the

United States Trustee filed his notice of appointment of Luc A. Despins as the

chapter 11 trustee in the Chapter 11 Case and an application for approval of the

appointment of Luc A. Despins pursuant to section 1104(d) of the Bankruptcy

Code. (Bankr. Dkt. No. 515, Trustee’s App. A-1012.)

         On July 8, 2022, the Bankruptcy Court entered an order (the “Appointment

Order”) granting the appointment of Luc A. Despins as the Trustee in the Chapter

11 Case. (Bankr. Dkt. No. 523,6 Debtor’s App. at A-156.)

II.      The Motion to Vacate
         On July 15, 2022, the Debtor filed his Motion for Relief from Order

Appointing Luc A. Despins as Chapter 11 Trustee (the “Motion to Vacate”).

(Bankr. Dkt. No. 561, Debtor’s App. at A-161.) The Motion to Vacate seeks to

terminate the Appointment Order pursuant to Rule 60(b) of the Federal Rules of

Civil Procedure (“FRCP 60(b)”), incorporated by Rule 9024 of the Federal Rules



6
      Citations to the Appendix of Appellant (the “Debtor’s App.”) are to Appellant Ho Wan
      Kwok’s Appendix [ECF No. 18-1].

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of Bankruptcy Procedure, on the ground that the Trustee allegedly is not

disinterested.

      In support of the Motion to Vacate, the Debtor argued that the Trustee is not

disinterested because (a) Paul Hastings LLP (i.e., Trustee’s counsel in the Chapter

11 Case and the law firm at which the Trustee is a partner) previously represented

Pacific Alliance Group (“PAG”), the parent company of Pacific Alliance Asia

Opportunity Fund (“PAX”), one of the largest unsecured creditors in the Chapter

11 Case, on unrelated matters (Motion to Vacate ¶ 10), and (b) the Trustee failed to

disclose that Paul Hastings LLP has offices in China and does business in China,

which the Debtor deemed significant because the People’s Republic of China and

the Chinese Communist Party are allegedly “directly and fiercely adverse” to the

Debtor. (Motion to Vacate ¶ 2.)

      On July 20, 2022, the Trustee filed his objection to the Motion to Vacate

(the “Trustee’s Objection to Motion to Vacate”) arguing that the Debtor had failed

to meet his burden for relief under FRCP 60(b). (Bankr. Dkt. No. 575, Trustee’s

App. at A-1033.) In his objection, the Trustee pointed out, among other things,

that (a) Paul Hastings’ prior representation of PAG on matters unrelated to the

Chapter 11 Case was disclosed at the July 8, 2022 hearing on the Appointment

Motion as well as in a supplemental declaration filed by the Trustee on July 12,

2022 (Trustee’s Objection to Motion to Vacate ¶¶ 6, 16) and (b) neither the


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Chinese government nor the Chinese Communist Party is a creditor or party in

interest in the Chapter 11 Case, and, in any event, the fact that Paul Hastings (like

numerous other U.S. law firms) has offices in China and does business in China is

public knowledge. The Motion to Vacate was also opposed by the United States

Trustee (Bankr. Dkt. No. 615, Debtor’s App. at A-315) and the Official Committee

of Unsecured Creditors. (Bankr. Dkt. No. 621, Debtor’s App. at A-606.)

       On August 1, 2022, the Bankrupty Court held a hearing on the Motion to

Vacate (the “August 1 Hearing”). At that hearing, the Bankruptcy Court denied

the Motion to Vacate on two grounds: first, because the Debtor “didn’t bring [the

Motion to Vacate] under [section] 324 because that’s the appropriate section to

bring it under,”7 (Aug. 1 Hr’g Tr. 66:10-12, Debtor’s App. at A-686), and second,

because the Debtor failed to “bring forth anything to [the Bankruptcy Court] under

a Rule 60 motion that met the standard under a Rule 60 motion.” (Aug. 1, 2023

Hr’g Tr. 66:14-16, Debtor’s App. at A-686.) At the August 1 Hearing, the

Bankruptcy Court also noted that the Debtor was “welcome” to file a motion to try

to meet the requirements of section 324, but the Bankruptcy Court noted that “you



7
    As the Bankruptcy Court observed, relying on Collier, “Rule 60 is not the appropriate way to
    challenge the appointment of a trustee . . . because the Court’s not involved in the appoint-
    ment. . . . The U.S. Trustee’s involved in the appointment.” (Aug. 1, 2023 Hr’g Tr. at 61:16-
    19, Debtor’s App. at A-681.) See also 3 Collier on Bankruptcy ¶ 324.01 (“Once appointed in
    a case, a trustee can be removed from that case only by the bankruptcy court and only under
    section 324.”) (emphasis added).

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already argued all of those issues in your Rule 60(b) motion and I’m denying it.”

(Aug. 1, 2023 Hr’g Tr. 67:6-7, Debtor’s App. at A-687.) Further, at the August 1

Hearing, the Bankrupcty Court concluded that because the Motion to Vacate was

denied, “[a]ny discovery . . . associated with it, is moot.” (Aug. 1, 2023 Hr’g Tr.

63:15-16, Debtor’s App. at A-683.)

       On August 2, 2022, the Bankruptcy Court issued its formal order denying

the Motion to Vacate on the bases that (a) “none of the grounds for relief set forth

in Fed. R. Civ. P. 60 and Fed. R. Bankr. P. 9024(b) exist to relieve the Debtor from

the” Appointment Order and (b) “no grounds exist to terminate the appointment of

Chapter 11 Trustee or remove the Chapter 11 Trustee appointed in the Debtor’s

case.” (Bankr. Dkt. No. 667, Debtor’s App. at A-786.) This appeal followed.8

                            SUMMARY OF ARGUMENT

       The sole question on appeal before this Court is whether the Bankruptcy

Court properly reached the question of whether the Motion to Vacate should be

denied under section 324 of the Bankruptcy Code (in addition to denial under

FRCP 60(b)) where the Motion to Vacate had framed the relief sought as relief



8
    The Trustee also notes that recently the Debtor filed another motion seeking to remove the
    Trustee—this time filing a motion under section 324 of the Bankruptcy Code (the “Second
    Removal Motion”). (See Bankr. Dkt. No. 1274, Trustee’s App. at A-1077.) The Second Re-
    moval Motion seeks to remove the Trustee based on certain alleged misconduct of the Trus-
    tee in connection with settlement discussions in the Chapter 11 Case. The Trustee rejects
    these allegations and intends to object to the Second Removal Motion before the Bankruptcy
    Court.

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under FRCP 60(b). To be clear, the Debtor is not appealing the Bankruptcy

Court’s denial of the Motion to Vacate on the basis that the Debtor failed to meet

the legal standards under FRCP 60(b) or that the motion should have been, but was

not, brought under section 324 of the Bankruptcy Court.

      Contrary to the Debtor’s assertion, the Bankruptcy Court’s decision to deny

the Motion to Vacate under section 324 was not an advisory opinion nor was such

decision otherwise improper. For one, the Motion to Vacate sought to terminate

the Trustee Appointment Order for the obvious purpose of removing the Trustee—

the exact relief provided for under section 324 of the Bankruptcy Code. Indeed,

given that purpose, the Bankruptcy Court concluded that the propor statutory

framework to seek removal of the Trustee is section 324 of the Bankruptcy Court

(not FRCP 60(b)), a conclusion that, again, the Debtor does not challenge on

appeal. Obviously, courts must apply the correct statutory framework based on the

issues presented, which, in this instance, was section 324 of the Bankruptcy Code.

Moreover, the Motion to Vacate set forth in detail the Debtor’s arguments and

factual allegations as to why, according to the Debtor, the Trustee should not

continue to serve as the chapter 11 trustee in the Chapter 11 Case. The Court

correctly rejected these arguments and factual allegations as insufficient to meet

the standards under either FRCP 60(b) or section 324 of the Bankruptcy Code.

Accordingly, the Bankruptcy Court addressed a real and substantial controversy—


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namely the Debtor’s attempt to remove the Trustee based on the arguments and

factual allegations made in the Motion to Vacate.

      Further, this Court should reject the Debtor’s argument that the Bankruptcy

Court did not provide him with notice that it would decide the Motion to Vacate

under section 324 of the Bankruptcy Court. For one, “notice and a hearing” is only

required for the court to remove the trustee, not to deny a request to remove the

trustee. Indeed, the purpose of the notice and hearing requirement under section

324 is to protect the rights of the trustee and other non-moving parties in interest

whose rights may be adversely affected if the requested relief were granted—it is

not to protect the party seeking relief. Nor was the Debtor deprived of his right to

seek discovery or to an evidentiary hearing. Having found that the Motion to

Vacate failed to present grounds to undo the appointment of the Trustee—whether

under FRCP 60(b) or section 324 of the Bankruptcy Code—the Bankruptcy Court

correctly concluded that any request for discovery to further explore the arguments

raised in the Motion to Vacate was moot.

                            STANDARD OF REVIEW

      The standard of review is abuse of discretion. See In re Dana Corp., 574

F.3d 129, 145 (2d Cir. 2009) (“An abuse of discretion may consist of an error of

law or a clearly erroneous finding of fact, or a decision that, though not necessarily

the product of a legal error or a clearly erroneous factual finding, cannot be located


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within the range of permissible decisions.”) (internal citations and quotations

omitted); In re Soundview Elite Ltd., 646 Fed. Appx. 1 (2d Cir. 2016) (“A

bankruptcy court’s denial of a motion to remove the trustee under 11 U.S.C. §

324(a) is reviewed for abuse of discretion.”); In re Ampal-American Israel Corp.,

554 B.R. 604, 624 (S.D.N.Y. 2016), aff’d, 691 Fed. Appx. 12 (2d Cir. 2017)

(finding denial of a motion to remove a trustee under section 324 is reviewed for

abuse of discretion).

                                         ARGUMENT

I.      Bankruptcy Court Did Not Issue an Advisory Opinion
        Under Article III of the Constitution, the jurisdiction of federal courts is

limited to “cases” or “controversies.” U.S. Const. art. III, § 2; Silva v. Farrish, 47

F.4th 78, 86 (2d Cir. 2022). The case or controversy requirement mandates that

there be “a real and substantial controversy” as opposed to “an opinion advising

what the law would be upon a hypothetical state of facts.” Aetna Life Ins. Co. v.

Haworth, 300 U.S. 227, 241 (1937). Here, the Court should reject the Debtor’s

argument that the Bankruptcy Court issued an improper advisory opinion when it

denied the Motion to Vacate on the basis that this motion failed to present grounds

to remove the Trustee under section 324 of the Bankruptcy Code.9



9
     Section 324(a) of the Bankruptcy Code provides that “[t]he court, after notice and a hearing,
     may remove a trustee, other than the United States trustee, or an examiner, for cause.”

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      For one, it cannot be disputed that the sole purpopse of the Motion to Vacate

was to remove the Trustee, which is the very subject of section 324. Indeed, even

though the Motion to Vacate was framed as seeking relief under FRCP 60(b), it set

forth the Debtor’s arguments and factual allegations as to why, in the Debtor’s

view, the Trustee should not continue to serve as the chapter 11 trustee in the

Chapter 11 Case, arguments and allegations that the Court correctly rejected as

insufficient to meet the standards under either FRCP 60(b) or section 324. As

such, the Bankruptcy Court’s denial of the Motion to Vacate under section 324 was

not based on a hypothetical state of facts or some abstract disagreement, but an

actual controversy.

      Moreover, the fact that the Debtor did not bring the Motion to Vacate under

section 324 of the Bankrupcty Code does not mean that the court erred in applying

section 324 to the controversy before the Bankruptcy Court. Obviously, courts

must apply the correct statutory framework to the issues presented. See, e.g.,

Bernacchi v. First Chicago Ins. Co., 52 F.4th 324, 328-29 (7th Cir. 2022)

(rejecting plaintiff-appellant’s argument that district court erred by granting motion

to dismiss on grounds not raised by defendant-appellee resulting in plaintiff having

insufficient notice and opportunity to be heard); ISI Int’l, Inc., Borden Ladner

Gervais LLP, 256 F.3d 548, 551 (7th Cir. 2001) (“Although the parties did not

alert the district judge to Rule 4(k)(2), and [plaintiff-appellant] did not rely on that


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rule in its appellate brief, it is best to excuse the forfeiture. Federal courts are

entitled to apply the right body of law, whether the parties name it or not.”); Pfoutz

v. State Farm Mut. Auto. Ins. Co., 861 F.2d 527, 530 n. 3 (8th Cir. 1988) (stating

“the district court made no reference to Mo. Stat. § 307.010 and the parties did not

raise the statutory provision prior to oral argument [where it was raised by the

panel]” but the court stated that nevertheless “we rely on [that] statute.”); Guedes

v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 920 F.3d 1, 22 (D.C. Cir.

2019) (stating there is an “‘independent power’ to identify and apply the correct

law”); In re Pace, 456 B.R. 253, 273 n. 5 (Bankr. W.D. Tex. 2011) (“Although the

Plaintiff did not specifically plead or address this section of the TUFTA in its

papers or at the hearing, the court will nonetheless address this section as it is

applicable to the facts of this case.”).

      Here, as the Bankruptcy Court made clear at the August 1 Hearing, the relief

sought by the Debtor—i.e., undoing the appointment of the Trustee—should have

been brought under section 324 of the Bankrupcty Court. In fact, this was one of

the bases for the Bankruptcy Court’s denial of the Motion to Vacate, which denial

the Debtor does not challenge on appeal.

      Finally, it is of no moment that FRCP 60(b) and section 324 of the

Bankruptcy Code are governed by different legal standards. The Motion to Vacate

presented the Debtor’s arguments and factual allegations as to why the


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appointment of the Trustee should be undone—all of which the Bankruptcy Court

found to be insufficient to grant relief under either FRCP 60(b) or section 324. In

other words, this is not a situation where the Debtor would have advanced different

arguments or different legal theories for the removal of the Trustee, had he known

that such relief is governed by section 324.

      For all these reasons, the Bankruptcy Court’s denial of the Motion to Vacate

under section 324 of the Bankruptcy Code was not an advisory opinion.

II.   Bankruptcy Court’s Ruling Under Section 324 Did Not Deprive the
      Debtor of Notice, Discovery, or an Evidentiary Hearing
      The Court should also reject the Debtor’s argument that the Bankruptcy

Court failed to provide him with notice that the Bankruptcy Court would decide the

matter under section 324 (in addition to FRCP 60(b)). For one, section 324

provides that “[t]he court, after notice and hearing, may remove a trustee . . . .” 11

U.S.C. § 324 (emphasis added). While that section requires notice and hearing for

the trustee to be removed, that requirement does not apply for the court to deny a

request to remove the trustee. See Contractors, Laborers, Teamsters & Eng’rs

Health & Welfare Plan v. M&S Grading, Inc. (In re M&S Grading, Inc.), 2007

U.S. Dist. LEXIS 87483, at *16 (D. Neb. Nov. 28, 2007) (section 324 “clearly

requires a hearing for the trustee to be removed, but not for a motion to remove the

trustee to be denied. The bankruptcy court made no error of law in choosing not to

hold a hearing, and the Plans point to no factual error. Therefore, there was no

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abuse of discretion and the judgment in this case should also be affirmed.”), aff’d,

541 F.3d 859, 867 (8th Cir. 2008); In re Steffen, No. 09-cv-00353, 2011 WL

13174777, at *3 (M.D. Fla. Oct. 12, 2011) (“[section 324 employs] language

authorizing relief to be granted ‘after notice and a hearing.’” … but does not

“purport to require a hearing of any type, evidentiary or otherwise, before denying

relief”).

       In any event, section 102(1)(A) of the Bankruptcy Code defines the phrase,

“after notice and a hearing” to be “such notice as is appropriate in the particular

circumstances, and such opportunity for a hearing as is appropriate in the particular

circumstances.” See 11 U.S.C. § 102(1)(A). Therefore, the concept of “notice and

a hearing” is a flexible one. See 2 Collier on Bankruptcy ¶ 102.02 (16th ed.);

Tennant v. Rojas (In re Tennant), 318 B.R. 860, 870-71 (B.A.P. 9th Cir. 2004).

Importantly, the notice requirement serves to protect the trustee and other parties in

interest whose rights might be adversely affected by the relief sought, not the

moving party. See Keeler v. Joy, 641 F.2d 1044, 1048 (2d Cir. 1981) (“The

purpose of notice under the Due Process Clause is to apprise the affected

individual of, and permit adequate preparation for, an impending hearing.”); In re

Penn Cent. Transp. Co. , 771 F.2d 762, 768 (3d Cir. 1985) (“the purpose of the

notice requirement is to advise individuals who will be affected by the outcome of

any proceeding of the impending hearing so that they can take steps to safeguard


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their interests.”); Sekerke v. City of National City, No. 19-cv-1360-LAB (MSB),

2020 U.S. Dist. LEXIS 138656, at *13 (S.D. Cal. Aug. 3, 2020) (“The notice

requirement is imperative as it “enable[s] the opposing party to defend itself

effectively.”); In re 50-Off Stores, Inc., 231 B.R. 592, 593 (Bankr. W.D. Tex.

1999) (“Parties whose interests may be adversely affected by a judicial proceeding

are entitled to notice of that proceeding. . . . The notice requirement of the Due

Process Clause prevents one party from ambushing others without giving those

others an opportunity to protect their interests.”). Nor does the Debtor provide any

support whatsoever for the proposition that a movant is entitled to notice and a

hearing to the extent a bankruptcy court determines that the relief sought should be

analyzed under a different statutory framework than the one set forth in the

movant’s motion.

      Even so, the Bankruptcy Court informed the Debtor at the August 1 Hearing

that it believed that the proper statutory framework for removal of a chapter 11

trustee was section 324, not FRCP 60(b). (Aug. 1, 2023 Hr’g Tr. at 61:11-19;

62:3-13, Debtor’s App. at A-681-82.) Moreover, at the July 21, 2022 status

conference, the Bankruptcy Court asked the Debtor why he was not moving under

section 324. (July 21, 2022 Hr’g Tr. 55:12-14, Debtor’s App. at A-253.) The

Debtor thus had the opportunity to respond to removal under section 324 but chose

not to do so.


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      Nor should the Debtor be allowed benefit from his willful decision to ignore

the controlling statute (i.e., section 324 of the Bankruptcy Code) and rely on the

incorrect framework (i.e., FRCB 60(b)) in order to obtain better appellate rights.

Indeed, the Bankruptcy Court recognized this obvious “strategy” at the August 1

Hearing:

               And the way that you have to proceed is a motion of 324.
               And if that motion is denied, it’s not a final appealable order.
               Which obviously you want the Rule 60 to be an appealable
               order. So we’re not – we’re not proceeding down the Rule 60
               road, because according to sources that I’ve looked at, it’s not
               appropriate.
(Aug. 1, 2023 Hr’g Tr. at 62:3-9, Debtor’s App. at A-682.) (emphasis added)

      Finally, the Bankruptcy Court’s denial of the Motion to Vacate rendered any

discovery moot. As noted, the Bankruptcy Court found the allegations and

arguments in the Motion to Vacate did not establish sufficient grounds to vacate

the Appointment Order or remove the Trustee under section 324 of the

Bankruptcy. The Bankruptcy Court thus correctly concluded that no discovery on

these issues was warranted.

                STATEMENT REGARDING ORAL ARGUMENT

      The Trustee respectfully requests that the Court schedule oral argument on

this appeal.




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                                   CONCLUSION

        For all these reasons, this Court should affirm the Bankruptcy Court’s denial

of the Motion to Vacate on the basis that the Debtor failed to present grounds to

remove the Trustee under section 324 of the Bankruptcy Code.



Dated: January 12, 2023

Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

        1.   This brief complies with the page limit of Federal Rule of Bankruptcy

Procedure 8015(a)(7)(A) because, excluding the parts of the brief exempted by Fed-

eral Rule of Bankruptcy Procedure 8015(g), this brief does not exceed 30 pages.

        2.   This brief complies with the typeface requirements of Federal Rule of

Bankruptcy Procedure 8015(a)(5) and the type-style requirements of Federal Rule

of Bankruptcy Procedure 8015(a)(6) because this brief has been prepared in a pro-

portionally spaced typeface using Microsoft Word in size 14 Times New Roman

font.

Dated: January 12, 2023                      /s/ Patrick R. Linsey
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                         CERTIFICATION OF SERVICE

      I hereby certify that on January 12, 2023, a copy of the foregoing Brief of

the Appellee Trustee and the appendix thereto was filed electronically. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system or by mail to anyone unable to accept electronic filing as indicated on

the Notice of Electronic Filing. Parties may access this filing through the Court’s

CM/ECF System.

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